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AO 450 (SCD 04/2010) Judgment in a Civil Action


                                    UNITED STATES DISTRICT COURT
                                                                 for the
                                                        District of South Carolina


               Wynter Odom, Stacy Case,
                                                                    )
               and Kimberly Wise-Lewis
                                                                    )
                           Plaintiffs
                                                                    )
                          v.                                                Civil Action No.      3:15-cv-04313-MGL
                                                                    )
          City of Columbia Police Department
                           Defendant
                                                                    )

                                                  JUDGMENT IN A CIVIL ACTION
The court has ordered that (check one):

O the plaintiff, Stacy Case, take nothing of the defendant, City of Columbia Police Department, and this action is
dismissed without prejudice as to that plaintiff’s causes of action.
O summary judgment is entered in favor of the defendant, City of Columbia Police Department, as to the causes of
action of plaintiff Kimberly Wise-Lewis. The plaintiff, Kimberly Wise-Lewis, shall take nothing of the defendant, City
of Columbia Police Department, and this action is dismissed with prejudice as to those causes of action.
O summary judgment is entered in favor of the defendant, City of Columbia Police Department, as to the first, second,
fourth, and fifth causes of action of plaintiff Wynter Odom. The plaintiff, Wynter Odom, shall take nothing of the
defendant, City of Columbia Police Department, and this action is dismissed with prejudice as to those causes of action.


This action was (check one):
 tried by a jury, the Honorable                           presiding, and the jury has rendered a verdict.

 tried by the Honorable                          presiding, without a jury and the above decision was reached.

O decided by the Court, the Honorable Mary Geiger Lewis, US District Judge, presiding. The Court having adopted
the Reports and Recommendations of US Magistrate Judge Shiva V. Hodges, which recommended dismissal of plaintiff
Stacy Case’s claims and granting in part the defendant’s motion for summary judgment.



Date: June 6, 2018                                                         ROBIN L. BLUME, CLERK OF COURT


                                                                                           s/Charles L. Bruorton
                                                                                       Signature of Clerk or Deputy Clerk
